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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (___)
                                                                     )
                                       Debtors.                      ) (Joint Administration Requested)
                                                                     )

                                  DECLARATION OF
                     DAVID LADD, EXECUTIVE VICE PRESIDENT AND
                 CHIEF FINANCIAL OFFICER OF ART VAN FURNITURE, LLC,
             IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS


             I, David Ladd, hereby declare under penalty of perjury:

             1.     I am the Executive Vice President and Chief Financial Officer of Art Van Furniture,

LLC (“Art Van”), one of the above-captioned debtors and debtors in possession (collectively, the

“Debtors” or the “Company”).

             2.     I have served in this role since October 10, 2016. In my current position, I oversee

financial planning, accounting and the management of financial risk for the Company and its

brands. Prior to serving in this capacity, I had over twenty years of financial experience in the

retail sector, during which time I served in various roles, including as an auditor for Kmart and as

Vice President of Finance for various divisions of Sears. Most recently, I served as the Vice

President of Finance for 1,500 Sears and Kmart stores.




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
      AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
      (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
      LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
      of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.




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        3.      I am familiar with the Debtors’ day-to-day operations, business and financial

affairs, and books and records. I submit this declaration (this “Declaration”) to assist the United

States Bankruptcy Court for the District of Delaware (the “Court”) and parties in interest in

understanding the circumstances compelling the commencement of these chapter 11 cases and in

support of the Debtors’ chapter 11 petitions and the relief requested pursuant to the motions and

applications filed on the first day of these cases (collectively, the “First Day Motions”).

        4.      Except as otherwise indicated, all statements in this Declaration are based upon my

personal knowledge, my discussions with the other members of the Company’s management team

and the Company’s advisors, my review of relevant documents and information concerning the

Debtors’ operations, financial affairs, restructuring initiatives, or my opinions based upon my

experience and knowledge. I am over the age of eighteen and authorized to submit this Declaration

on behalf of the Debtors. If called upon to testify, I could and would testify competently to the

facts set forth herein.

                                      Preliminary Statement

        5.      Art Van is a brick-and-mortar furniture and mattress retailer headquartered in

Warren, Michigan. The Company operates 169 locations, including 92 furniture and mattress

showrooms and 77 freestanding mattress and specialty locations. The Company does business

under brand names, including Art Van Furniture, Pure Sleep, Scott Shuptrine Interiors, Levin

Furniture, Levin Mattress, and Wolf Furniture. The Company was founded in 1959 and was owned

by its founder, Art Van Elslander, until it was sold to funds affiliated with Thomas H. Lee Partners,

L.P. (“THL”) in March 2017. As part of this transaction, THL acquired the operating assets of the

Company and certain real estate investment trusts, who closed the transaction alongside THL,

acquired the owned real estate portfolio of the Company, and entered into long-term leases with

Art Van. The proceeds from the sale-leaseback transaction were used to fund the purchase price


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paid to the selling shareholders. Pennsylvania-based Levin Furniture and Wolf Furniture were

acquired by Art Van in November 2017 through similar transaction structures. As of the Petition

Date, the Company operates stores throughout Michigan, Indiana, Ohio, Illinois, Pennsylvania,

Maryland, Missouri, and Virginia.

       6.      In the wake of extreme market conditions and faced with limited liquidity, the

Company has commenced these chapter 11 cases to effectuate a going-concern sale of

approximately 44 stores and two distribution centers operating under the Wolf and Levin banners

and to wind down its remaining store locations and other operations through a going-out-of-

business sales process. Given continuously declining profitability and operational challenges over

the past three years, and despite the best efforts of the Company and its advisors to secure the

capital necessary to preserve the entire business as a going concern, the Company is simply unable

to meet its financial obligations. The Company has worked in concert with its secured lenders to

develop a budget for the use of cash collateral to facilitate an expedited sale and orderly wind down

process that will maximize value and recoveries for stakeholders in these cases.

       7.      Art Van’s declines in sales, profits, and cash flow were driven by a combination of

several factors. First, the Company has faced significant macro-related revenue headwinds, as

well as local microeconomic headwinds, that have led to sustained negative “same-store sales,” a

key measure of retail health, during every quarter since June 2016. These macro-related headwinds

include broad-based declining retail foot traffic, market share losses of brick and mortar furniture

outlets to online sellers such as Wayfair and Amazon.com, and increased fragmentation and

intense competition in mattresses leading to decreased profitability. On a local level, Art Van has

faced increased retail competition, as key competitors such as Ashley HomeStore, Bob’s Discount




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Furniture, and Mattress Firm opened at least 30 stores in Michigan and Illinois over the last three

years

        8.     Second, while Art Van revenues have declined approximately 27% cumulatively

on a same-store basis since fiscal year 2016 through January 2020, expenses have increased

significantly due to, among other things, over $8 million in tariff costs in fiscal year 2019 (which

continued and escalated in fiscal year 2020) and an increase in marketing expenses intended to

stem same-store sales declines.

        9.     Third, the business suffered numerous operational challenges in the course of the

Company’s effort to grow and navigate a challenging retail environment. In continuing to support

the existing management team and growth initiatives that had driven the Company’s success over

the prior decade, the Company invested significant capital, but many of the initiatives failed to

meet expectations and were insufficient in offsetting countervailing headwinds. These operational

challenges included, among other things:

       Expansion. The Company began an expansion into Chicago in fiscal year 2013 that
        continued through fiscal year 2018, which ultimately led to market oversaturation as new
        stores cannibalized revenues from preexisting locations. Despite spending significant
        capital and gaining material revenue share in this market, the Company was not able to
        achieve sustained profitability in Chicago.

       Leadership Turnover. The Company lost eight of its top nine executive leaders in fiscal
        years 2017 and 2018 through unplanned and, in many cases, voluntary departures.

       Required Changes to Marketing Strategies. In June 2017, the Company ceased certain
        of its historically successful marketing practices after becoming aware they violated the
        Telephone Consumer Protection Act (“TCPA”), and in early 2018, the Company settled a
        class-action lawsuit on account of an alleged violation of the TCPA.

       St. Louis Franchise Acquisition. In fiscal year 2018, the Company entered into an
        operating agreement with its largest franchisee, based in St. Louis, Missouri, due to
        financial distress being experienced by the franchisee. The Company acquired the
        operations of the franchisee in fiscal year 2019 to help stabilize performance and avoid
        further deterioration, but Art Van was unable to stabilize the revenues of the St. Louis
        stores or generate a profit in the market after such acquisition.



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      Levin/Wolf Integration. In fiscal year 2019, the Company’s management attempted to
       integrate the operations of Wolf Furniture into Levin Furniture. The integration involved
       a significant overhaul of many fundamental aspects of the Wolf business, including human
       capital management, furniture assortments, distribution/delivery, and technology systems.
       These actions were taken in an effort to improve the business and align its operations with
       those of Levin, but they created significant strain on the Wolf business, which led to same-
       store sales declines of approximately 22% in Wolf in the second half of fiscal year 2019,
       as well as meaningful turnover of tenured sales staff.

      Changes to Inventory Mix and Showroom Layout. In the same year, the Company
       turned over approximately 60% of its furniture assortment and reorganized many of its
       flagship showroom floors by “lifestyle” instead of by category of product, which negatively
       impacted sales and led to increased markdowns from product that was not easily saleable.

As a result of these challenges, the Company’s Adjusted EBITDA decreased significantly in each

fiscal year since 2016 and dropped to negative for the twelve months ended December 31, 2019.

       10.    Faced with rapidly declining profitability, the Company made key leadership

changes in summer 2019 that it deemed necessary to stem the downward trajectory and recover

sales and profits. In August 2019, the Company’s board of directors (the “Board”) terminated the

Company’s then-current Chief Executive Officer, its Chief Merchant, its Head of Stores, and

several other executives. It promoted a Company veteran to the role of Chief Merchant in August

2019, and, in September 2019, the Board hired a mattress industry turnaround executive as Chief

Executive Officer. The Board also named Gary Van Elslander, the former President of Art Van,

as Chairman of the Board, in an effort to improve morale and re-establish a connection between

the Company’s employees and customers with the namesake of the business. During this period,

the Company also launched a new marketing campaign intended to differentiate the business

against a competitive landscape, and it improved its e-commerce operating systems, including its

website.

       11.    In the summer and fall of 2019, the Company took further actions to create

additional liquidity and extend the runway for management to execute on a sales-led operational

turnaround:


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       In November, 2019, the Company amended its asset-backed loan (“ABL”) facility with
        Wells Fargo Bank, National Association (“Wells Fargo”) to increase the size of the facility
        from $60 million to $82.5 million.

       In summer 2019, the Company engaged Evercore Group L.L.C. (“Evercore”) as investment
        banker and undertook a review of strategic alternatives, including efforts to identify
        potential buyers for all or portions of the business.

       In December 2019, the Company secured an amendment to its term loan credit facility,
        which allowed the Company to suspend cash interest payments and mandatory
        amortization under the term loan.2

       In the fall and winter of 2019, the Company also was implementing a cost reduction and
        profit improvement plan, which was predicated on (a) reducing marketing expenses as a
        percentage of sales; (b) increasing gross margin through improved coordination of the
        merchandising, marketing, and in-store sales teams; and
        (c) decreasing occupancy costs.

        12.      Throughout this time, the Company also was focused on optimizing its lease

portfolio and reducing rent expense:

       With the assistance of its financial advisor, Alvarez & Marsal North America, LLC
        (“A&M”) the Company created a store footprint optimization analysis that supported store
        closure plan.

       The Company hired real estate restructuring advisers Jones Lang LaSalle (“JLL”) and
        Newmark Knight Frank to lead discussions with key landlords to reduce rent expense given
        the Company’s decline in sales and to close 49 underperforming locations (including 31
        mattress locations), consistent with and supported by the above-referenced store closure
        plan.

       The Company hired an accounting advisory firm in November, 2019, to create standardized
        and reliable schedules of store-level financials needed for JLL and Newmark Knight Frank
        to be able to engage in productive negotiations with the Company’s lessors. This effort
        was completed in January, 2020, and the real estate brokers began discussions with key
        lessors shortly thereafter.




2   Despite these liquidity enhancements, the Company also faced offsetting liquidity challenges. Certain companies,
    including The CIT Group (“CIT”), which provided accounts receivable factoring services to the Company’s
    suppliers, refused to factor receivables owed by the Company unless the Company issued CIT and other factoring
    companies letters of credit under its ABL facility. These letters of credit reduced availability under the
    Company’s ABL facility by $10 million, further exacerbating the Company’s liquidity constraints.



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       13.     In late January, 2020, the Company unexpectedly faced further liquidity constraints

due to a reduction in the Company’s “borrowing base,” which is required collateral support for

borrowing under the ABL facility. At the same time, certain financial partners of the Company

began to demand additional collateral and tightened access to credit as a result of the Company’s

weak financial results. These financial partners included credit card processing companies,

including Bank of America Merchant Services and PNC Merchant Services—who are critical to

the Company’s ability to accept credit cards in stores and on-line for customer purchases—as well

as providers of consumer credit. In total, this group demanded approximately $33 million in

collateral through holdbacks to fund reserves and letters of credit.

       14.     As a result of the impending liquidity crisis created by the shrinking borrowing

base, poor operating cash flow, and the collateral demands, the Company was unable to issue

“clean” audited financial statements (i.e., without a potential “going concern” qualification), which

led to a default under the Company’s ABL facility, as well as various other contractual

arrangements, including certain leases. Wells Fargo agreed to forbear from exercising remedies

on account of such default until February 28, 2020, to give the Company time to explore

opportunities to raise additional capital and restructure its debt obligations. As part of this short

forbearance, Wells Fargo required the Company to comply with cash dominion, and also required

the Company to begin immediate preparations for a “going-out-of-business” liquidation in the

event ongoing efforts to raise capital did not materialize before the forbearance period expired.

       15.     Against this backdrop, with the assistance of Evercore and A&M, the Company

held discussions with at least 31 potential buyers and investors, including its term loan lender, FS

KKR Capital Corp. and affiliates (“KKR”), about potential transactions to recapitalize or sell all




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or parts of the business.3 Following a short evaluation period, KKR declined to make a new money

investment in Art Van pursuant to any recapitalization transaction. The most likely and promising

alternative that emerged was an out-of-court recapitalization transaction involving a consortium

of investors that included a new-money investment from THL, the Van Elslander family, and three

important suppliers to the Art Van business (the “Consortium”). The transaction contemplated the

Consortium investing significant new capital into the Company and refinancing the existing ABL

facility.4 The Consortium also sought and received support for the transaction from the Company’s

five largest lessors (the “Master Lessors”), in which the Master Lessors agreed to reduce rent

obligations on the company and allow Art Van to close certain underperforming locations. The

Consortium submitted a letter of intent to the Company outlining the details of its proposal on

February 20, 2020, followed by a further letter of intent on February 26, 2020, discussing the

Consortium’s progress in arranging the transaction. Unfortunately, the Consortium ultimately

failed to secure the necessary capital commitments due to a variety of circumstances, including,

but not limited to, the significant equity market impact of the coronavirus during the week of

February 24, 2020, and the resulting deleterious effect on Consortium investors’ willingness to

contribute capital. Over the weekend of March 1, 2020, the Company, its Board, and the

Company’s advisors worked with JLL and the Master Lessors to attempt to replace the deficit in

the Consortium investment with a new money investment from the Master Lessors in the form of

a lease incentive investment, but on Monday, March 2, 2020, certain Master Lessors declined to

participate in the proposed transaction as revised.



3   Immediately prior to the Petition Date, KKR assigned the claims and obligations under the term loan to HGB
    AVF Lending, LLC, which is an affiliate of Hilco Merchant Resources, LLC.
4   KKR also agreed to participate in the Consortium Bid by exchanging its term loan into a percentage of the pro
    forma equity and new debt pari passu with the Consortium investment.



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        16.      After the Company’s forbearance with Wells Fargo expired on February 28, 2020,

the Company went into default under its credit facilities and focused its attention on launching a

going-out-of-business process to preserve value. Based on the expected timing for commencing

the liquidation process, any delay in a launch of the going-out-of-business sales could have caused

the process to continue into May and, therefore, necessitate the payment of May rent at locations

still active in the liquidation at that time. The Company also had not received substantial shipments

of new product since early February given it was no longer making payments to vendors, and, as

such, sales were decreasing and weekly cash burn was increasing.

        17.      With no actionable alternatives, and given the urgency with which Wells Fargo was

pressing the Company and its advisors to proceed, the Company began executing on plans for an

orderly wind-down of the Company’s operations and a liquidation of its inventory (the “Wind

Down”). The Company and its advisors negotiated extensively with the Company’s secured

lenders to ensure that customer deposits, credits, and/or refunds, as well as payment of certain

administrative costs, were contemplated by the agreed budget for the Wind Down process. In

particular, as a result of these negotiations, the Company has implemented a process for addressing

customer deposits whereby customers can elect to: (a) receive the merchandise they purchased if

such merchandise is present in the Art Van warehouses; (b) receive a credit in an amount equal to

their deposits that can be used to purchase alternative merchandise at discounted prices during the

Wind-Down, if the originally purchased merchandise is not available; or (c) cancel their order and

submit a request to refund their deposit, which request would be processed as soon as practicable

depending on the volume of refund requests, required processing times, and the timing and

availability of cash proceeds generated by the Wind Down.5


5   The relief requested with respect to the customer deposits, credits and/or refunds is set forth in the Debtors’
    Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Maintain and Administer Certain


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        18.      To facilitate the Wind Down, the Company and its advisors solicited bids from

potential liquidators to conduct store closing sales, and received bids from various parties,

including a proposal from certain parties to acquire certain of the Company’s intellectual property

and other assets. After discussions with several firms that specialize in store closings and inventory

dispositions, and with input from its secured lenders, the Company entered into a consulting

agreement with a contractual joint venture (as amended and restated, the “Consultant Agreement”)

of Hilco Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC (together,

“Consultant”) to conduct the store closing sales. The Consultant Agreement is an expense-based

arrangement in which the Consultant will provide reimbursement of all supervisor costs,

reasonable and documented travel expenses, and general legal fees subject to the caps set forth in

the Consultant Agreement. The Debtors expect to move swiftly through these chapter 11 cases to

minimize costs, with an expected timeline for completing the store closing sales of approximately

six to eight weeks. To maximize recoveries and minimize administrative expenses, the Company

announced and initiated a soft launch of the store closing sales on March 5, 2020, 6 and seeks to

expedite the remaining store closure sales in order to complete them within six to eight weeks.

        19.      In parallel with preparations for the Wind-Down, the Company continued to engage

with interested parties regarding alternative transactions, which ultimately resulted in a proposal

to preserve the Levin business segment and a portion of the Wolf business segment as a going-


    Customer Programs and Honor Certain Prepetition Obligations Related Thereto and (II) Granting Related
    Relief, filed contemporaneously herewith, and remains subject to approval by the Bankruptcy Court.
6   Upon commencement of the store closing sales, Bank of America, N.A., Banc of America Merchant Services,
    LLC (“BAMS”), one of the company’s credit card processors, immediately issued notice of its intent to hold 100
    percent of all sale proceeds as a reserve. The filing of petitions on March 8, 2020, initiated an automatic stay
    against any action to control property of these estates and the Debtors reserve all rights and causes of action
    against BAMS, including with respect to potential preference claims. In addition, on March 6, 2020, Broadstone
    AVF Illinois, LLC, and Broadstone AVF Michigan, LLC (collectively, “Broadstone”), two of the Company’s
    Master Lessors, initiated a lawsuit against the Company in Illinois federal court, alleging, among other things,
    various defaults under their respective leases related to the commencement the store closing sales.



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concern. In the days leading up to the Petition Date, the Company, with the assistance of its

advisors, extensively negotiated and reached an agreement-in-principle with Robert Levin, the

former owner of Levin Furniture, regarding a going-concern sale of certain of the assets of Sam

Levin, Inc. and LF Trucking, Inc. (the “Levin-Wolf Sale”). The key terms of the Levin-Wolf Sale

are set forth in a letter of intent, dated as of March 4, 2020, a copy of which is attached hereto as

Exhibit B (the “Levin-Wolf LOI”). As set forth in the Levin-Wolf LOI, the Levin-Wolf Sale will:

              provide for cash and non-cash consideration, including the
               assumption of liabilities related to customer deposits, employee
               obligations, specified cure costs, and potential claims under section
               503(b)(9) of the Bankruptcy Code;

              preserve nearly 1,000 jobs; and

              provide for the continued operation of approximately 44 retail store
               locations under the Wolf and Levin store banners and two related
               distribution centers.

       20.     The Company expects to move forward with definitive documentation for, and

approval of, the Levin-Wolf Sale on an expedited basis. The Company believes effectuating the

Levin-Wolf Sale on an expedited basis is critical to avoiding employee attrition and other potential

value leakage related to the simultaneous Wind Down of the Company’s other operations. The

Levin-Wolf Sale is supported by the Company’s secured lenders.

       21.     To familiarize the Court with the Debtors, their business, the circumstances leading

to these chapter 11 cases, and the relief the Debtors are seeking in the First Day Motions (defined

below and filed contemporaneously herewith) this Declaration is organized as follows:

              Part I provides a general overview of the Debtors’ corporate history
               and business operations;

              Part II provides an overview of the Debtors’ prepetition capital
               structure;




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             Part III provides a discussion of the circumstances leading to these
              chapter 11 cases and the Debtors efforts to pursue alternate
              restructuring options; and

             Part IV sets forth the evidentiary basis in support of the relief
              requested in each of the First Day Motions.

I.     The Company’s Corporate History and Business Operations.

              Corporate History

       22.    Mr. Art Van Elslander founded Art Van Furniture in 1959 with the first location on

Gratiot Avenue and 10 Mile Road in East Detroit, Michigan. From 1959 through the 1970s, Mr.

Van Elslander focused on building the foundation for his furniture store footprint. During this

time he opened additional stores and acquired the current corporate headquarters and distribution

center in Warren, Michigan. From 1980 to 2000, Art Van Furniture focused on its expansion in

the state of Michigan and introduced the first Art Van credit card, the clearance center concept,

and ArtVan.com. By 1997, following growth in the early to mid-1990s, the Company had

increased in size to a total of twenty-six stores with over 2,600 employees. Further, in the

following decade the Company would open seven more stores for a total of 33 stores in 2009. In

this most recent decade, the Company experienced its most intense growth phase under former

CEO Kim Yost, who led the business from 2009 until his departure in 2018. In 2010, the Company

began to execute on its freestanding PureSleep mattress store thesis. From 2011–2015, the

Company acquired 27 Mattress World stores, began franchising, and entered the Chicago market.

Upon Art Van Elslander’s sale of the Company in 2017, the enterprise had 113 stores, more than

triple the amount of stores than it did in 2009. Around this time, the Company was ranked as

number nineteen on Furniture Today’s “Top 100 list.”

       23.    In 2016, founder and sole owner Art Van Elslander decided to explore exit

opportunities and engaged in a transaction to sell the Company and its owned real estate to THL



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for $612.5 million, which transaction closed in March 2017 (the “2017 Transaction”). At the

closing of the 2017 Transaction, THL acquired the operating assets of the business and certain real

estate investment trusts acquired the owned real estate portfolio. The proceeds from the sale-

leaseback transaction were used to fund the purchase price paid to the selling shareholders. Later

in 2017, the Company acquired two Pennsylvania-based furniture companies: Levin, with

operations in greater Pittsburgh and Cleveland, and Wolf, with operations in eastern Pennsylvania,

Maryland, and Virginia. The Company continued its growth strategy through further geographic

expansion and new store openings, and it also invested in e-commerce capabilities to bolster the

brand and improve consumer experiences. As of the Petition Date, the Company has 92 total

furniture showrooms and 77 freestanding mattress and specialty locations.

               The Company’s Products.

       24.     Since its founding, Art Van Furniture has focused on retailing high-quality, made-

to-last furniture that is available to customers across all price points. Art Van Furniture delivers

an array of merchandise and uses a “Good-Better-Best” approach to pricing, which allows the

Company to play up and down the value spectrum. The Debtors’ store locations feature a

seasonally refreshed assortment that has both exclusive and national brands, traditional and

fashion-forward merchandise, and an optimal mix to maximize sales per square foot performance.

To support the customer experience, Art Van Furniture has a financing program to offer customers

flexibility in purchasing larger and more expensive items. Key comparable companies in the

industry include Ashley Furniture, Raymour & Flanigan, Haverty’s, Mattress Firm, and Rooms

To Go. Other relevant companies in the industry include Bob’s Discount Furniture, IKEA, Ethan

Allen, Restoration Hardware, and Gardner White.




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              The Company’s Brands.

       25.    The Company operates stores under five primary retail nameplates: Art Van®, Art

Van PureSleep®, Scott Shuptrine Interiors, Levin, and Wolf. The respective stores operate as

follows:



                             Art Van features high-quality, made-to-last furniture featuring deals
                             on furniture for every room in your home.



                             Pure Sleep features top brand mattress and other sleep and bedding
                             related goods and products at accessible prices.



                             Scott Shuptrine is primarily a store-within-a-store format offering
                             exclusive and custom designed home furniture and furnishings



                             Levin Furniture, including the Levin Mattress nameplate, features
                             a wide selection of modern and stylish living room, dining room,
                             and bedroom furniture, including mattresses, with operations in the
                             greater Pittsburgh and Cleveland area.

                             Wolf Furniture features a wide selection of eclectic furniture from
                             around the country, including Amish made furniture, with
                             operations in Pennsylvania, Maryland and Virginia.

The Art Van and Art Van PureSleep nameplates have their own standalone stores and operate

under the website artvan.com.     Both Levin Furniture (including Levin Mattress) and Wolf

Furniture nameplates operate their own standalone stores and operate under the websites

levinfurniture.com and wolffurniture.com, respectively.

              The Company’s Business Operations.

       26.    The Company markets and sells its merchandise through a variety of different

channels, including stand-alone stores, franchised locations, and their e-commerce platforms.



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                       Brick-and-Mortar Presence.

       27.     Stand-Alone Stores.      The Company maintains a

substantial domestic presence. Currently, the Company operates

169 stores across 9 states. Of these, 92 are showroom and 77 are

freestanding sleep and specialty stores. Certain furniture showroom

locations have attached Clearance Center & Outlet stores to sell

discounted products and merchandise.

       28.     Franchise Stores. The Company also has arrangements with franchisees (each, a

“Franchise Store”). There currently are 20 Franchise Stores across the United States. The

Franchise Stores are subject to franchise agreements with the Company, pursuant to which the

Company supplies franchisees with product and receives a royalty on sales.

                       E-Commerce Platform.

       29.     In addition to its physical footprint, the Company maintains a user-friendly and

well-curated e-commerce platform with the goal of facilitating a complete, omnichannel customer

experience to help educate them before they arrive at a showroom. Customers can seek out the

latest home furnishing trends, explore different options for an array of different furniture styles,

and purchase furniture online. In 2019, e-commerce accounted for approximately 2% of sales.




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                       Distribution Centers

       30.     The Company primarily operates from two principal distribution centers, one of

which is co-located with Art Van’s headquarters in Warren, MI. The second distribution center is

located in Smithon, PA.

II.    The Company’s Prepetition Corporate and Capital Structure.

       31.     A summary chart depicting the Debtors’ corporate structure is attached to this

Declaration as Exhibit A. As of the Petition Date, the Debtors’ capital structure consists of

outstanding funded-debt obligations under the Prepetition ABL Credit Facility and the Prepetition

Term Loan (each as defined herein) in the aggregate principal amount of approximately

$208.5 million. The following table summarizes the Debtors’ outstanding funded-debt obligations

as of the Petition Date:

                                                              Principal Outstanding
                  Funded Debt             Maturity
                                                              as of the Petition Date
                Prepetition ABL
                                        March 1, 2022             $33.5 million
                 Credit Facility

                Prepetition Term
                                        March 1, 2024              $175 million
                     Loan
                           Total Funded Debt                      $208.5 million

               The Prepetition ABL Credit Facility.

       32.     The Debtors are party to that certain amended and restated senior secured revolving

credit facility, dated as of March 1, 2017 (as amended from time to time the “Prepetition ABL

Credit Agreement”), by and among AVF Holdings II, LLC, AVF Parent, LLC, as borrower agent,

certain of its subsidiaries, as subsidiary borrowers, certain of its subsidiaries, as guarantors, and

Wells Fargo, as administrative agent collateral agent, and issuing bank, and the Lenders party

thereto. The Prepetition ABL Credit Agreement provides for total revolving credit commitments

of $82.5 million with a maturity date of March 1, 2022 (the “Prepetition ABL Credit Facility”).



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Approximately $33.5 million is currently outstanding in principal under the Prepetition ABL

Credit Facility.

       33.     The obligations under the Prepetition ABL Credit Facility are secured by a security

interest in substantially all of the Debtors’ assets. However, solely with respect to liens on certain

of the Debtor’s fixed assets, the liens securing the Prepetition ABL Credit Facility on such assets

are subordinated, to the extent set forth in that certain intercreditor agreement, dated March 1, 2017

(as amended from time to time, the “Intercreditor Agreement”), to the payment in full of the

obligations in respect of the Prepetition Term Loan. The Prepetition ABL Credit Agreement

contains various affirmative and negative covenants, representations, and warranties, including a

covenant that the Debtors maintain a certain amount of excess availability. Due to the Debtors’

deteriorating financial performance, Wells Fargo increased certain reserves in the months leading

up to the Petition Date.

               The Prepetition Term Loan.

       34.     The Debtors are party to that certain term loan credit agreement (the “Prepetition

Term Loan Agreement”), by and among AVF Holdings II, LLC, AVF Parent, LLC, as borrower,

certain of its subsidiaries, as guarantors, Virtus Group, LP (“Virtus”), as administrative agent and

collateral agent, and the lenders party thereto. The Prepetition Term Loan matures on March 1,

2024 (the “Prepetition Term Loan”). Approximately $175 million is currently outstanding in

principal on the Prepetition Term Loan.

       35.     Obligations under the Prepetition Term Loan are secured by a security interest in

substantially all of each Debtor’s assets. However, solely with respect to liens on the Debtor’s

trade receivables, inventory, cash intangibles and other assets collectively referred to as ABL

Priority Collateral in the Intercreditor Agreement, the liens securing the Prepetition Term Loan on




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such assets are subordinated, to the extent set forth in the Intercreditor Agreement, to the payment

in full of the obligations in respect of the Prepetition ABL Credit Facility.

       36.      The Prepetition Term Loan Agreement was subsequently amended, including on

February 5, 2020 (the “Term Loan Amendment”). Among other things, pursuant to the Term Loan

Amendment, Virtus and certain of the Prepetition Term Loan lenders agreed to extend the deadline

to deliver the 2019 annual financial statements to February 28, 2020.

III.   Additional Information Regarding the Debtors’ Efforts to Pursue Alternate
       Restructuring Options.

       37.     Recognizing the need to explore strategic alternatives, the Debtors worked closely

with THL and their advisors to evaluate available solutions to the Debtors’ deteriorating

circumstances, including efforts to continue the business as a going concern by means of one or

more out of court transactions.

                       Prepetition Marketing Process.

       38.     The Debtors, with the assistance of their advisors, Evercore and A&M, engaged in

discussions with various parties considered to be potential investors in the business. Evercore and

A&M compiled diligence information and responded to a high volume of diligence requests from

multiple interested parties.

       39.     Prior to the Petition Date, Evercore and members of the Board contacted at least 31

potentially interested strategic, financial, corporate and individual parties, including at least 19

parties interested in the whole company and at least 12 parties interested in Levin and/or Wolf.

Many of these parties entered into confidentiality agreements with the Debtors and received

various confidential information documents, and thus began the diligence process. As discussed

above, the Debtors made substantial progress towards consummation of the Consortium Proposal,

but due to market conditions and the uncertain financial viability of the business, the Debtors were



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unable to secure investments needed for an actionable going-concern reorganization of the entire

business.

                        The Expedited Levin-Wolf Sale.

       40.      Prior to the Petition Date, Robert Levin, the former owner of the Levin entities,

submitted a written proposal, and the Debtors worked to finalize the Wolf-Levin LOI, pursuant to

which Robert Levin will purchase substantially all of the assets of Debtors Sam Levin, Inc. and

LF Trucking, Inc., excluding inventory located at the eight Maryland and Virginia Wolf locations

(the “Assets”), as part of an expedited sale process under section 363 of the Bankruptcy Code. The

purchase price consists of a combination of cash consideration and assumed liabilities, including:

a cash payment equal to 82.25% of the agreed value of Wolf and Levin’s actual cost of goods and

freight, the amount of allowed section 503(b)(9) claims related to the Assets, the amount of any

cure costs for executory contracts or unexpired leases assumed as part of the Levin-Wolf Sale, and

an incremental payment of $3,650,000. The Levin-Wolf Sale also contemplates the assumption

of customer deposits and employee obligations related to the Wolf and Levin business.

       41.      After hard-fought negotiations, the Debtors and Robert Levin reached an agreement

on material terms and are currently moving toward definitive documentation. The Debtors are

commencing an expedited sale process to close the Levin-Wolf Sale to prevent continued

diminution of value and mitigate the risk of employee and customer attrition as the Debtors

contemporaneously pursue the Wind-Down with respect to the Art Van store portfolio. The Levin-

Wolf Sale contemplates the following timeline:

            the Debtors shall file a motion to approve a private sale of the Assets to Robert Levin
             no later than five (5) days following the Petition Date;

            the buyer and Debtors shall enter into an asset purchase agreement for the sale of the
             Assets no later than ten (10) days following the Petition Date; and




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            the Court shall enter an order approving the asset purchase agreement no later than
             twenty-one (21) days following the Petition Date.

       42.      The Debtors expect the Levin-Wolf Sale to maximize recoveries for the Debtors’

creditors as well as to preserve jobs and the Levin and Wolf brands.

                       Store Closings.

       43.      Due to the challenges discussed above, and at the direction of Wells Fargo, the

assets not included in the Levin-Wolf Sale will be subject to going-out-of-business sales conducted

in accordance with the Consultant Agreement. To avoid incurring any unnecessary administrative

expenses with respect to certain facilities where the Debtors are no longer operating and retain no

assets of value, the Debtors expect to take a number of steps to reduce their expenses moving

forward, including filing contract and lease rejection motions, pursuant to which the Debtors will

seek to reject store leases and contracts that the Debtors and their advisors have determined are no

longer be necessary to the Debtors’ business operations.

IV.    Relief Sought in First Day Motions.

       44.      Contemporaneously herewith, the Debtors filed the First Day Motions seeking

relief that the Debtors believe is necessary to enable them to efficiently administer their estates

with minimal disruption and loss of value during these chapter 11 cases. The Debtors request that

the relief requested in each of the first day motions be granted as critical elements in ensuring the

maximization of value of the Debtors’ estates. A list of the First Day Motions is attached hereto

as Exhibit C.

       45.      These First Day Motions seek authority to, among other things, obtain the use of

cash collateral on an interim basis, honor employee-related wages and benefit obligations, and

ensure the continuation of the Debtors’ cash management systems and other business operations

without interruption. I believe that the relief requested in the First Day Motions is necessary to



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give the Debtors an opportunity to work towards successful chapter 11 cases that will benefit all

of the Debtors’ stakeholders.

       46.     Several of these motions request authority to pay certain prepetition claims.

I understand that Rule 6003 of the Federal Rules of Bankruptcy Procedure provides, in relevant

part, that the Court shall not consider motions to pay prepetition claims during the first 21 days

following the filing of a chapter 11 petition, “except to the extent that relief is necessary to avoid

immediate and irreparable harm.” In light of this requirement, the Debtors have narrowly tailored

their requests for immediate authority to pay certain prepetition claims to those circumstances

where the failure to pay such claims would cause immediate and irreparable harm to the Debtors

and their estates. Other relief will be deferred for consideration at a later hearing.

       47.     I am familiar with the contents and substance of each First Day Motion (including

the exhibits thereto), and the statements and facts set forth in each of the First Day Motions are

true and correct to the best of my knowledge. I believe that the relief sought in each First Day

Motion: (a) is necessary to enable the Debtors to operate in chapter 11 with minimal disruption or

loss of value; and (b) best serves the interests of the Debtors’ stakeholders.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct.

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Dated: March 8, 2020           /s/ David Ladd
Wilmington, Delaware           Name: David Ladd
                               Title: Executive Vice President and Chief Financial
                                      Officer
